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      In The United States Court of Federal Claims
                                              No. 10-156T

                                        (Filed: June 8, 2012)
                                             __________

 MCCLURG FAMILY FARM LLC, et al,

                                Plaintiffs,

                         v.

 THE UNITED STATES,

                                Defendant.

                                               _________

                                                ORDER
                                               _________

        On May 31, 2012, defendant filed a notice of its objections as to the unbriefed parcels in
this case. The notice proposed that plaintiffs should file their revised class index and a
supplement to their pending motion for summary judgment. On or before June 22, 2012,
plaintiffs shall file a status report indicating whether they are in agreement with this plan, and, if
not, proposing an alternative course of action.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
